APPENDIX A
                    UNITED STATES DISTRICT COURT
                                  for the
                        NORTHERN DISTRICT OF ILLINOIS

Shanlian Quan and Kwan Joong Kim,       )
                                        )
                   Plaintiff(s)         )
                                        )
                                        )
                                        )    Civil Action No.: 1:17-cv-05683
Ty, Inc. and H TY Warner,                )
                                        )
                   Defendant(s)         )
                                        )

                 REPORT OF THE PARTIES’ PLANNING MEETING

1.    The following persons participated in a Rule 26(f) conference on
      09/29/2017 by email and phone conversation, but there have been no
      agreement and the following due dates are suggested by the
      Plaintiffs.

      Sang Lee, representing the Plaintiffs.
      J. Aron Carnahan, representing the Defendants

2.    Initial Disclosures. The parties will complete by 1/30/2018 the initial
      disclosures required by Rule 26(a)(1).

3.    Disclosures and Discovery Pursuant to Local Patent Rules. The parties
      acknowledge that the requirements of the Local Patent Rules apply to this case.

4.    Additional Discovery Plan. The parties propose the following in addition to the
      discovery plan and schedules addressed in the Local Patent Rules:

      (a)   <Maximum number of interrogatories by each party to another party,
            along with the dates the answers are due.> 200 by 1/30/2018
      (b)   <Maximum number of requests for admission, along with the dates
            responses are due.> 200 by 1/30/2018
      (c)   <Maximum number of factual depositions by each party.> 10
      (d)   <Limits on the length of depositions, in hours.> 4 hours
      (e)   Discovery is permitted with respect to claims of willful infringement and
            defenses of patent invalidity or unenforceability not pleaded by a party,
            where the evidence needed to support these claims or defenses is in
            whole or in part in the hands of another party.
5.   Alternative Discovery Plan. The parties propose a discovery plan that differs
     from that provided in the Local Patent Rules, for the reasons described with
     particularity in Exhibit 1 to this Report:

     <Use separate paragraphs or subparagraphs if the parties disagree.>

6.   Other Dates:

     (a)   <Dates for supplementations under Rule 26(e).> 2/28/2018
     (b)   <A date if the parties ask to meet with the court before a scheduling
           order.> 2/28/2018
     (c)   <Requested dates for pretrial conferences.> 2/28/2018
     (d)   <Final dates for the plaintiff to amend pleadings or to join parties.>
           2/28/2018
     (e)   <Final dates for the defendant to amend pleadings or to join parties.>
           2/28/2018
     (f)   <Final dates for submitting Rule 26(a)(3) witness lists, designations of
           witnesses whose testimony will be presented by deposition, and exhibit
           lists.>
           2/28/2018
     (g)   <Final dates to file objections under Rule 26(a)(3).>
           2/28/2018

7.   Other Items:

     (a)   <State the prospects for settlement.> It is very likely with more than 70%
           probability.
     (b)   <Identify any alternative dispute resolution procedure that may enhance
           settlement prospects.>
     (c)   Communications between a party’s attorney and a testifying expert
           relating to the issues on which he/she opines, or to the basis or grounds
           in support of or countering the opinion, are subject to discovery by the
           opposing party only to the extent provided in Rule 26(b)(4)(B) and (C).
     (d)   In responding to discovery requests, each party shall construe broadly
           terms of art used in the patent field (e.g., “prior art”, “best mode”, “on
           sale”), and read them as requesting discovery relating to the issue as
           opposed to a particular definition of the term used. Compliance with this
           provision is not satisfied by the respondent including a specific definition of
           the term in its response, and limiting the response to that definition.
     (e)   The parties [agree] the video “An Introduction to the Patent System”
           distributed by the Federal Judicial Center, should be shown to the jurors in
           connection with its preliminary jury instructions.
     (f)   The parties [agree] that the provisions of Sections 3A, B and
           C of the America Invents Act concerning the revisions to 35 U.S.C. §§102,
           103 apply to all patents-in-suit in this case. In the event of disagreement,
           note the potential contention here:
     (g)   <Other matters.>
Date: 09/29/2017        /Sang Ki Lee/



                        Sang K Lee
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                          847-208-8617


Date: <Date>            <Signature of the attorney or unrepresented
                        party>

                        Not Signed by
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